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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                  CASE NO. 1:24-CV-24066-CMA

   ALAN GUERECA individually and on behalf of all
   others similarly situated,

                          Plaintiff,
           v.

   MOTORSPORT.TV DIGITAL, LLC,

                          Defendant.

   JOINT MOTION TO CONDUCT VIRTUAL MEDIATION AND APPOINT THE HON.
                 WAYNE R. ANDERSEN (RET.) AS MEDIATOR

         Plaintiff Alan Guereca and Defendant Motorsport.tv Digital, LLC, (collectively, “the

  Parties”) jointly move for an order approving the parties’ selection of the Hon. Wayne R. Andersen

  (ret.) as mediator and permitting the mediation to occur by videoconference. In support, the Parties

  state as follows:

         (1)     The Parties have jointly selected the Hon. Wayne R. Andersen, retired District

  Judge – U.S. District Court for the Northern District of Illinois, and currently a neutral with JAMS,

  to serve as the mediator in this putative class action that alleges violations of the Video Privacy

  Protection Act (“VPPA”), 18 U.S.C. § 2701 et. seq. The Parties have chosen Judge Andersen

  based on his significant experience in assisting parties resolve data privacy class actions, and the

  Parties’ assessment Judge Andersen will effectively and fairly act as a neutral in this dispute. (See

  Curriculum Vitae of the Hon. Wayne R. Andersen (ret.) attached as Exhibit A).

         (2)     Pursuant to the Court’s Order dated December 23, 2024 (ECF No. 10), the Parties’

  deadline to select a mediator is January 13, 2025. Provided the Court approves Judge Andersen to
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  serve as mediator the parties have arranged to attend mediation, remotely, before Judge Andersen

  on (or before) June 17, 2025.

         (3)       While Judge Andersen is not on the Court’s Certified Mediator’s List, he otherwise

  meets all the criteria set forth in Local Rule 16.2(b)(3), has reviewed Local Rule 16.2, and agrees

  to comply with his obligations thereunder and under all applicable authorities. Accordingly, the

  Parties ask that this Court appoint him to serve as mediator in this case.

         (4)       Because Judge Andersen is based in Chicago, Illinois and given the significant costs

  to travel for an in-person mediation, the Parties request permission to conduct the mediation by

  virtual means.

         WHEREFORE, the Parties respectfully request that the Court approve the Hon. Wayne

  R. Andersen (ret.) to serve as the mediator in this case and to conduct mediation remotely.


     DATED: January 13, 2025                                 Respectfully Submitted,

      /s/ Arun Ravindran                                     /s/ Kyle W. Woodford
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